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              IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                                                      )
PETRINA SMITH,                                        )
                                                      )
          Plaintiff,                                  )
                                                      )       No. 19-1348 C
               v.                                     )       (Judge Smith)
                                                      )
THE UNITED STATES,                                    )
                                                      )
          Defendant.                                  )

     DEFENDANT’S UNOPPOSED MOTION FOR ENLARGEMENT OF TIME.

       Pursuant to Rule 6(b) and Rule 6.1 of the Rules of the United States Court of

Federal Claims, defendant, the United States, respectfully requests a 60-day enlargement

of time within which to respond to plaintiff’s complaint. The United States’ response is

currently due by November 4, 2019. The extension would bring the date for responding

to the complaint to January 3, 2020. We have not previously requested an enlargement of

time for this purpose. Counsel for plaintiff indicated that plaintiff will not oppose this

motion.

       Defendant has sent to the Department of Veterans Affairs (VA) a copy of the

complaint with a request for a litigation report pursuant to 28 U.S.C. § 520. Since VA

received our request, VA’s counsel has begun to gather information and documents

necessary to prepare a litigation report. Additional time is needed to prepare our

response to plaintiff’s complaint because VA has not been able to prepare the litigation

report and to gather all of the necessary information and documents. VA counsel has

been unable to complete the litigation report because of the demands of his workload as

well as the fact that gathering information and documents requires coordination with

another department within VA, the Veterans Canteen Service. Our ability to complete
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our response by November 4, 2019, has also been affected by undersigned’s workload,

including work on a bid protest filed September 16, 2019, Harmonia Holdings Group,

LLC v. United States, No. 19-1421, which will be fully briefed and argued by

November 1, 2019, and briefing in Yee v. United States, No. 17-206 (Fed. Cl.), following

the Federal Circuit’s decision in that case. Also, the undersigned will be on previously

scheduled leave for foreign travel November 2-6, 2019, as well as part of the day

November 1, 2019.

       Once the litigation report is received, defendant’s counsel will need sufficient

time to review the litigation report, to obtain any additional information or clarification

from VA, and to prepare and to file the Government’s response to the complaint,

following supervisory review. Defendant anticipates that 60 additional days will be

sufficient to complete and to file defendant’s response.

       For these reasons, defendant respectfully requests that the Court grant

defendant’s unopposed motion for an enlargement of time of 60 days, to and including

January 3, 2020, within which to respond to plaintiff’s complaint.

                                               Respectfully Submitted,

                                               JOSEPH H. HUNT
                                               Assistant Attorney General

                                               ROBERT E. KIRSCHMAN, JR.
                                               Director

                                               /s/ Reginald T. Blades, Jr.
                                               REGINALD T. BLADES, JR.
                                               Assistant Director




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                                    /s/ Zachary J. Sullivan
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October 21, 2019                    Attorneys for Defendant




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